Case 2:17-cv-06108-MWF-JPR Document 38-1 Filed 11/21/17 Page 1 of 11 Page ID #:172




                                 EXHIBIT “A”
Case 2:17-cv-06108-MWF-JPR     Document
          Case 2:17-cv-06108 Document 1-1 38-1   Filed 11/21/17
                                           Filed 08/17/17  Page 1 Page
                                                                  of 10 2Page
                                                                          of 11ID #:14
                                                                                  Page ID #:173




                                             COMPOSEWSAGREEMENT
               1liiS COMPOSER'S AGR.E'EMEl-.'T ("~eat") is ~mde 2nd entel'ed i.ato u of
               Peb. 14. 2008 by :md between Micbacl Alaa Cobo:n ('tCompoGer") loa.tt:d at 15$? S. '\'Yowtc:r.fu.
               #1(15 L.A.. Ga. 2Q03S on the ooe hind, and !Ahmdor Entcrr.:Uo.mmt, lnc:./Spider Cues ("Owntt'')
               with office o.t 22400 Seutar Rd Woodland Hills, CA 91364, on the othet hand. on the following
               teons and conditions:

                                                              WITNESSETH
               Composer is the sole :author of musical composition& listed bdow (UCompositiont~'') written by
               Mis;bac! AInn C:ohm (ASC..!J>). Composer: hereby !~!signs tn Owocr. ~clusive publi.shing.rlgbtt
               world wlde of the Composltioos (or sale 2nd/or aploitttion.

               WORKING TITLE TO'I'ALRUNNING TIME
               SQ me dwgcon-lords                                  :32
               SQ me wa!Jc-this-way_soll.l!dalikc                  1:15
               SQ me boogie baby                                   :42
               SO me boogie baby 2                                 1:17
               s   mcfunnv                                         :J4
               s   me stupid people                                :48
               s   me eminem esque                                 2~22
               s   me go<Jsondheroes                               :39
               s   mchlpbop 7                                      I:A2
               SQ me wedding eny.n                                 Z:02
               s  me beyonce esque                                 2:36
               s  me ballen hq,hop ·                               :30
               s JDC ~ba v«:al                                     1:02
               SQ me theme love                                    :45
               s   me sexy &heme                                   :24
               s   meol<: go J                                     1:14
               s  mcolqr,o2                                        1:18
               s  me jazz angels we bave heard on high              56
               s we jau away_in the manger 1                        54
               S< me iatt away illll!e manger 2                      39
               SQ me jazz deck the halb 1                           I 18
               SO me jazz deck the halts 2                           43
               SO me ia%2: ha!:k the berald DnR.Cis               I I 02
               SO rociatt ir came II POll a miduicllt clear        I J(}
               SQ mo iazz jillgla ballt; l                          52
               ~ me jazz jingle bells Z                            Ill
               s mo j azl.joy to the world                         I 03
               ~ me jazz nutcrllcku chinese dante                  1 14
                                                                    49
              ~ ~~a.zz Ulltcrackcr march
              s me iazz: nurc:racker lre'Pak                       1 16
              s me jazz nutmcker Wllltz ofthe flowen pan 2         I 16
              S 2me jazz Dllfcraef;er waltz of the flowe.s pm1     I \3
              SO me iazz o come :Ill ye faithfilJ                   56
              SQ me i= o little aowu ofbetb!ellem                   52
              SQ me iuz o tanoenba&Jm I                             46
              SQ me jazz o tlrulcnbavm 2                            56




                                                                                                                   EXHIBIT A
Case 2:17-cv-06108-MWF-JPR    Document
         Case 2:17-cv-06108 Document 1-1 38-1   Filed 11/21/17
                                          Filed 08/17/17 Page 2 Page
                                                                of 10 3Page
                                                                        of 11  Page ID #:174
                                                                            ID #:15




              : SQ me 111'ZZ over !lie riY« + tbru the woods    l 07
              · SQ me i1172. silent nilht                        S1
              · SO me iuz !Riglr plum fairy                     J 18
                SQ me jazlt the first noel
                SO me ian the first noel 2
                                                                111
                                                                1 21
                                                                        (lA (_   .

                                                                          r
                SO me iiZZ twelve daYJ ol.xmiiS                  so
                SQ me ian we wisb vou a metn :xmas              1 36
                SO me mod deck the balls                         38
             I so JDC mod 2()t R:St ~ IIKJTY ocutkmeo           113
                SQ me mod bade the be.rald                       56
              SO JDe mod iinlk belli                            I 17
              SO me mod iOY to UK: world                        1 27
              SQ me modo lm:llltr~baum                          12.4
              SO me mod sUnt DiRht                       -      126
               ~ ~mod we wisb you a menv xmas                   1 21
               S4 we muzak deck the balls                       l 20
               S( me muzak hDrtc the herald Bllltcis sin~       l 24
               S« memuzaldmgle bells                             56
               sc me: muuk we wtsh you a mmy mu                  56
               S( me muU!k latin we wish you a merry lllllas     5-2
               S4 me peace1\11 first noel                       l 09
             I SO me ncaull.l! god rest ye mmv geutlealc:n       39
               SQ me peaceful it came upoo a midnirzht clear
              .§;9 me oeacefulloY to the world                   ""
                                                                l 03
               SO me Ot~Cefill o come all ye ~thful             129
               SO me oeaceful what dilld is this                1 29
               SQ me rock twelvt daY5 of xmas                   l 07
               SO me mod auldiiWi:iYDe                           47
               ~)me ~e modem rock            I                  1 19
              SO me ~emodcnl rock 2                             133
              sc ) me 2al1&e IIW.)dem rock 3                     S8
              sc me hard as hell                                 ss
              S( me driviD~t lwd rock                           I 08
              sc me drivinl: .bard rock 2                       l 02
              S4 me more drivin!! lmd rack 3                    1 06
              s     mc~eroclt                                   I 13
              sc    me dO'WJI and dirty fwd rock                I 38
              s     me inspirational coJdplay·c!QilC            1 IS
               S(   me inSJ>irltiooal coldplay-esque 2          l 20
               ~    me chillin light rock blucsy                1 28
               s mcPIOirock                                     1 04
               s me mid tempo bard rock:in                      l 14
              S( mo doep down dirty rock                        I lS
               S(   me arecn DWik rotldo                        114
              SC me Ul) temoo rotlcin                           1 11
              SO me down low lOin$ rock                         I 43
               s    me mmm.in rotk                              104
               s    me drivin' 0095 +drums                       33
               s    me~rock                                     I lS
              IS< mc ~.Rle8C moo rock                            ss
              is mo bNQe in the house rock                     ; 1 37
               s~ me hell'tlaod TOClc                            1 S4
               St me c:hUI heartland rock                        511
               Sl   me eblllllgbt heutlmd rock                   ss
               S4 me rolliDg IOOa~                              I 12
               sc mo bluesy rock ornn                           I 03
               SO me bloesv rock piano                           so
               SO me rockitlf.! blues                          I 48
               SO me bad ass                                   I 1 34
Case 2:17-cv-06108-MWF-JPR     Document
          Case 2:17-cv-06108 Document 1-1 38-1   Filed 11/21/17
                                           Filed 08/17/17  Page 3 Page
                                                                  of 10 4Page
                                                                          of 11ID #:16
                                                                                  Page ID #:175




              5( me: one bad moro                             S3
              s  me the maD is bQelc                         56
              s  me H~~rimental oiano & drums                42
              s  me IDON rock 1                              IS4
              S( 1110 sports rock 2                           55
              s IDC spOrt! l'lldc 3                          Ill
              S( IIIC JI)ClftJ JOCk 4                        I 15
              s   111C drl~roc:k orcJl                        59
              so me: rea~~v clrfviuorch                       50
              SO me iQity lkivin& orch-110 dnlms              Sl
              S(f!IIO reallv ciimil&! O«:h·DO drums+md       50
              SO me insDiralional-Uiiiil.iiiii2              I IS
             SQm~o~ inJPinltionll!~uoli~2                    3S
              SO me orcbwliftiDti                            1 ~~
              so me: IJI)IlftiD2 too tr1.lil-eSOIIc          I 21
              s ) JOO Dtaeefulll.wii,Jr ~ oad                 ss
              S4 ) me soft peaceful oi.ano                   1 23
              s     me DCaccful »lmo                          34
              s    me rr.eutle viano                         1 08
              s    me hfih sotl:niano                         44
              s    me conte~cool nwimba                      ) ()1
              s me co~POI'IITV marimba                        51
             ~  me auitary flm
              SOme~ohiU
              SO me bard groovin'
              SQ DlC ftmky xntdtill'
              SQJnC como oo oow
              S0 IRC look alive
              SO me really fun fWlJCV
              SQ me nWik
              s     OIC lei tk lctiM clarlc
              s    me mfalsc orcbe:slr.ll
              S :fmc dti'Yinl.! orcbesual
              ;o me mllke11100 ordlcstraJ
              >0 me somc:th:in2 's 011 fuo
               j() me: more action
              SO me blilldillr. heroics
              S0 CDC SleOOv beat
              SO me cruv lllXIDus
              SQ me auy IIHilck
              s mo doric QUirtv
              ~     mc: dark IJJ)Iiftlol!.
              s     li)C   mid tCUJl)O fQtDIUlCC
              s~    mc dark r.:rotic
              Sc rm; acoustic blues
              Sl mo rock Mluffie
              SQ me blui!SV shllffte
              SQ me bluesyviano                          I
              SO me deeo tlloal!hd\tl                    I
              SO lliC COD roc:i.                         I
              SO me 70's funky
               soll'tC street beatt
              SQ me street beatt 3
              s ~ baaaddd css
              S< me calypso
              s mebev-oDd f.ood md evil
              SQ me Quests lords
               SOme maio t11eme
               SO me aw:st lldioo
Case 2:17-cv-06108-MWF-JPR     Document
         case 2:17-cv-06108 Document 1-1 38-1   Filed 11/21/17
                                         Filed 08/17/17 Page 4 ofPage 5 of 11
                                                                  10 Page       Page ID #:176
                                                                           ID #:17




            So me dark cboic
            SQ me go theme
            SO tnc e.b free at Jut
            $( me sf love theme
            s me alex aoola<:bian                                   fAC
            s Jl)C J<b sneak"/
            s    m<: comedy Qucrkv
            SO me fae em w J
            SQ me fire em w 2
            SO me fire em Ull 3
                                                                       tl
            ]Q:mo gb lcclmo
             SO me big river orch I
            _§Q DIC IUDII'Yil ~& I
             ~me amayu strin~ 2
            -SO-me imnjc's !home
             SO me underw11Ler
            SO me cool orcbestr.t.
             tQ me liauld arch
            sQmc4
            SQ me dtn endinl!
            SQ me bill: river combo
             SO me ut>liftiot dmm11
             SQ me bnild[nl: oreh bc;,l
            s mc gl memories I
            -~ me ~I memories 2
            s me rakcda jazz
            s mc glpolku I
            ~ mecltiolka2
            SQ me !Ughrr latin
             SQ me si S[JIII)ish l
            SQ me sj Spanish 2
             ~me hi!dicr r&b
             ~me hip bop rockin
             SQ me halfwa~
             SO me In) blD'd rock l
            -SQ me tm bard roclc2
             SQ me tm hard rock 3
             SOme tlll bllrd roti.: 4
             SQ me tm hard rock 5
             SQ me tm hard rock 6
             SO me tm hard rock 1
             s me an bard rock 8
             Sc me tm lwd rock 9
            ]i me d ambient dtone 1
            ]:l IUt d ambient drone 2
             ~   me bd endimt
             SQ me lndinn wliftiJUl-
             SO-me :ts tlld stri:n~
             S( me be Dlann!ng
             s   me mid temoo    sm
             S ) 11\C hard drivin'-llOP
             S< mcil bluos I
             S l me SO's llOO I
             s m.c SO's OOD 2
             8C me SO's POil3
             s   mc80'SPOP4
            S< me 80's popS
             s  me 80's pop 6
             SQ me so•s pop 7
Case 2:17-cv-06108-MWF-JPR    Document
          Case 2:17-cv-06108 Document 1-138-1
                                           Filed Filed 11/21/17
                                                 08/17/17  Page 5Page
                                                                  of 10 6 Page
                                                                          of 11IDPage
                                                                                 #:18 ID #:177




               SO me SO's pop 8
               SO me SO's ~ 9
               SO me kick action                     :35
               SO me 9011CC'Y fuukv                  1:18
               SO me street beatz 2                  :37
               SO me SnY crisis funk                 :59
                    me spy ail~ is tecbno            ;42
                    mcmc3                            2:05
                    medmbefore                       !:DO
                   mcPCUsive I                       1:08
                   me emoriollal 1                   :42
               s me emotioaal2                       :54
               s me peeceful erotic                  1:30
               S ) me tendt::r emotional             :SO
               Sl .rnc talypso beach                 :56
               s    me13iiY-chiU 2                   :57
               SO me lazzv ellill I                  1:27
               S 'J me kwis VIW                      :19
               SO me il blues 2                      :18
               SO me ltl:e11 w the 1lmlt             :55
               SO me sttai!dlt rock                  :55
               S0 me 1!1' U11$IOD                    1:06
               so me imDCOdiD!!: aeeov 1             :47
               SQ me impendiJI~ cccepy 2             I:JO
               SO me moody meoY                      :42
                SQ me creepy eoetmt                  1:05
                SO me SJ)()Ol-y build                :30
                SO me tension in tbe air             :40
                SO me what's ~oio~ on                :51
                SO roc ~b iames brown                1:02
                SO me lleavY ocliul.e                1:36
              • SA ~ beavY octane 2                  1:54
               s    me sexY jazz                     1:14
               s  mc'l)ianobar                       2:16
                                                     2:16_ __
               s  me piano her inlro
               Si me heavY octane                   . l:J6
               s  me heavY OCIIUl~ 2                 1;54
               SQ me piano baT                       2:16
               SO me niano bar inlro                 2:2l
               SQ me JeX,Y jazz                      1:15
               SO me drive action                    O:SI
               SQ mchomman:h                         1:64
               S< me horn marcb trao                 1:04
               S(l me maud on:h                      1:58
               SO me JX"Oud oreh 2                   1:06       j
               SQ Ill¢ rock teose                     0:39
               SOmc~drum                            I 0:33
               SJ Jn1: f(O ltW with me               l:M
               Sl me $till fa!\In for 'YOU           0:36
               s me wowing circb                     1:06
               SA mc irish oteb                      0:56
               s    U1.C\9~0rth
                                             -·--    C:SO
               s  me ruw drive collos                0:2S
               SO me ehallen2e orch                  0;46
                                                                J
                                                                J
                                                                I
Case 2:17-cv-06108-MWF-JPR     Document
          Case 2:17~cv-06108 Document 1-1 38-1   Filed 11/21/17
                                           Filed 08/17/17  Page 6 Page
                                                                  of 10 7Page
                                                                          of 11ID #:19
                                                                                  Page ID #:178




                                              --------- -- ---

                       1.       ASSJGNlNG                                                                            0(_ /
                                    1.1      Composer hereby pats to Owner, 1Uld its assigos, ~usive wOtldo.>ide               1,/
               .cigbcs, titJe and .iat=est throughout tbe wodd ("Ten:itDey") in and to abe Composition(s) (6ct.pt
               copyright) ill perpetuity. Owner's rights will include. but not be limited to=

                                        {a)      The right 10 use or record new ly.cics in ronncctioo with the
                                                 melody of the Coropooition(s), or llllew melody in eoWJ~tio.n with
                                                 the lyDcs then:of.
                                        (b)      The r.igbt to use, pnblish, :~~se, pc:fozm, produce, reprodnc:e,
                                                 dis:semitnte alld exploit !he Composition(:s) by 1111y 1Jl1::f.11S 00111 or
                                                 hereafter known, 0t not do UI.Y of the foregoing;
                                        (c)      Any 2nd all l:ights to the perfotlllOnce of the compt»icion(s).
                                        (d)      The right to alter or change the title.
                                        (e)      The rigb.t to n.hec, expand, ad2.pt, 2nd tmJSbte the Composition(s)
                                                 in consult:ltion 'With Composer, aod
                                        (0       The right to license othc.tt to do any of the foregoing.


                       2.       PAYMENTS
                                2.1     Owner sb2.11 ptty Composer a ~um equ:U to fifty (50%) of my and all net
                                        mouie:s received from any .llledwlic:al, liceru~ and synchtotllutioo income
                                        received by Owner, leS$ reas011.abk mocito:zing fees, which m1y be iDcw:red
                                        only when ioc!Mduab or entitie.~ have been fuuod to have made
                                        U.ll:lU!horized use of CUCl! or Composidon(s). In the event tbnt Owner
                                        obt:Uns io[etett from a thlro party ro licco~ the Composition(s} onl:lide of
                                         the film tr:r.ilcr market R!ld Owner .issues suchlicem;e for the
                                         Co~ositioo(s) to such third parry, Owner sbllll p ay Composer 11 sum ~1
                                        ro 6fty percent (50%) of any aDd :ill SJ'OSS monies rece.i"'ed from my
                                     -. mechallic:U, licmsc, and syncluoni:Zlltioo income rrc-dved by 0\Wer,
                                2.2     Owner shnll be entitled to rccei"'e a sum equ.'\1 to fifty (50%) of any
                                        perfonni.ng and broadcast fees, which shnll be collected by ASCAP, BMJ.,
                                        ot SESAC and their affiliated societies, so long :u the perfomliog rights
                                        Society will pay SUCb SUU't5 directly to Owner Ot it'8 pubJisher(s). [fOOt,
                                        Composer shall pay such sums 10 Ownc: diD:ctly.
                                2..3    Jn rhe event of the exploit1ti011. of aD.Y sheet music, Owner sb;ill p:~y the
                                        Composer :a ro)'2lty equal to twelve percent (11'/o) o£ tbe !let pzoceeds of
                                        the .tetllil selling price (or whole$nle equ:iVI!Ient) on all copies :10ld of the
                                        sheet mu~c embodying the Compos.itions{s) wbm the moucy is received by
                                        Owner. Composer sb~ not he entided to rea:ive a royalty for any
                                        pxofcssiolllllaod comp.limectuy aheet music c~ of the Compositi<lo(.s).
                                2.4     It is uollerstood thar should lyJ:ia be sdded to the Composilion(s), then the
                                        royrud.es and fees specified in clauses 2.2, 23, and 24 shall. be divided
                                        between Composer $lld the new lyricist on reJmS :I.D.d condition~ to be
                                        mutually agc~tl upon between CampOiet, Owner, and che new lyricist
                                2.5     Prior to the signing of this ~au, all pezfoaning $lld broadcast feu
                                        collected by ASCAP aod any publishing ro~ !hat will, in tbr furore, be
                                        collected by ASCl\P foe prior lio::n,ing of the above li:sted .musie by sour<:es
                                        other thAn Spider Cues/Labrador Enteltlinroeat, Inc. ru: it's sub-publishers
                                        and p:oduocrs will be paid 100% to Mkbael Cohet1.

                        3.      ACCOUNTING

                                3.1      Ownet sh2.11 pay Composer :my-lllQo.ies timt may become due 11M pay:able
                                         to Composer under this Agreement within (30) days of r«eipt of royalacs
                                         paid to Owner. Any late payment of such royalties due md owing shall, at
                                         Composer'I> option, be subject to a cbuge of intetest at 10% fi'l:ed interest
Case 2:17-cv-06108-MWF-JPR    Document
        case :17-cv-06108 Document      38-108/17/17
                                   1-1 Filed  Filed 11/21/17
                                                     Page 7 of Page 8 of ID
                                                               10 Page    11#:20
                                                                              Page ID #:179
             2




                               tate. In the event that Ownec .i& unable: by rea.~on of govemm.cntal                     (
                               xestrictions to cm.ke paymcm to Compose. .in the U.S. in U.S. Dolb.cs,               t-\ \.,__.
                               Owner shall deposit to CompO&er's credit or l!CCOuot io ll forcigl:l
                               deposit~ ~tlected       by Cotr:~pc>ser ao.d in Coa1.poser'' name till SUa!$ p:.y.tble
                                to Compostr hereunder and 1ball notify Composer o£ all rtlevao.t
                                particul= of such deposit. Ovmer's dcp~it of sucb funds in the foreign
                                deposllory shalls:~tisfy ics ob~tions ro Compose!' unda this Paragoph 3.
                                                                                                                        v·
                       3.2      for toy:llty lltcoullting nnd :ill other putposes, any vtniom of the
                                Composirion(s) will be deemed to include c::a.:h mortage or ]OJ;Jga '!lemon
                                0t edited alteced vmion of the Compositiou(s).
                       3.3      In tl1e event th:~t Ol.rner's l:igl1et hereunder att: sold or auigned to a third
                                pexsoo ot a1rir.y (as opposed to UlY cll'>ting ~cr of Owner), Compoocr
                                or !I ~td public ~ccounbnt on Composer'~ bdutlfsh2)I be entidoo to
                                =mine Owner's books o( :ICCOU!lt, but only for the sole putpOSC of
                                verif~ the :accut:~cy of any 5t.aternrors n:ndcred aod mooi~ due
                                httC\Indtr to Composer upon thirty (30) d:~~ -wzitten notice, during
                                Owuer's noarul business bollt$ tnd mno ~c11t mote thlUl once Mnll<llly.
                                I.u no ttcnt Jball C01;11poset o.r a tertificd public lltCOUnt:Uit on Composer's
                                b.ehlllf be entitled to c=mine OWtler'l books of account t~diog any sw:ns
                                ttcci'!led by o~er that do not relate to Composition(s) "·hicb .is rhe rubject
                                matter of this Agreement. Composer sb:ill be de~etl to have coosmtcd to
                                e2ch royalty statcrueot, nnd such statement ~hill become fulJil aad biDding
                                upon Composer sixty (60) days Uctr rhe rendition thereof; unJess
                                Coroposct issues specific wntl'cn objecriOn$ to Owna \\.~thin said sl:rty (60)
                                d:ly period. In the C\Jent th11t objection is recciv-ed in. si:ny (60) days,
                                uat<lltlent \\.ill be d~d accurate.
                       3.4      All payments ~a.d~ thill be wbjc:ct fO :~.ny withholding taxa ot other
                                deduction&, which Owner may be required ro !llakc by 1:~\v o.r govcmmcnml
                                regubtio11. 1n the event Ownet sh:ullle obligated by th~ l11ws of the
                                colUltty in. the Tccritot;>to deduct and withholdin.r:ome or other like tu
                                from adv:~uces :~nd royalties pay:tbk to Composer hereunder. Owner shall
                                usc its bi!'St cffoas to nssist Composer it\ obtaittU\g a f orcign tax ceaificate
                                ~tting forth the amount of ta.'l: which 3h:ill. b:1ve beeo withheld, and any
                              · other occcssat)' infO(tll.ation to =is t Composer in obtaining intome t:IX
                                credits in the Unite-d St:lrt-s or reimbu.rsemrol!l &om such foreign Wing
                               authority.
                       3.5     Owner slull nc>t croS&-CO!btcr;ilize =y uruecoupci :unounts hercUDder
                               :~guinst my z:oythies dne to Compo3er undc.r any other agreement v.ith
                               Own~:~:.


                 4,    COM:EQSER"S REPRfSENIA.llONS ANP \l:I:ARRANTIE.,';

                       4.1     Compos~:~: represcars and WlUJ'aDU that lhe Composition(s) it his sale,
                               e.xclt.ISrre and origirul work, 2nd 3s cap~ble of copyright ptOtectioo. by
                               Owner thtoughont the Ter:ritory.
                       4.2     Composer represents Md \VUr.lncs r.hat no ~rdvcne claims e.'llst or will es:i6t
                               witb respect to tbe Composition(s), 3lld the Cotnposition(s) does nor
                               infringe upon or riol:~te the copytigbrs ot any other lighu wh~oeve.r of
                               auy penon, firm, or entity.
                       4.3     Composer .cepraeots lh;lt the perfo!XXWlee of the Composition(s) is owned
                               and/or p:Ud for .in fuU by the Composer :wd that the Compo9cr bolds
                               Ownu and its 1l.SSocilltes b;u:mlcss to any claim tbeJ:eof.
                        4.4    Corapota: represents a.od wm2nts thllt Composer has the full and
                               exclusive :igbt and llUibot:ity to elltet into !his Agtecment and to make the
                               p.ot ofrights cont2io.ocl neccin to Owner.

                  2..-__Q\~N-eR,'S REPRESENTATIONS             AND WARRANTIES
Case 2:17-cv-06108-MWF-JPR    Document
         Case 2:17-cv-06108 Document 1-1 38-1   Filed 11/21/17
                                          Filed 08/17/17 Page 8 Page
                                                                of 10 9Page
                                                                        of 11  Page ID #:180
                                                                            ID #:21



  ----·---·--·   ---------------------------------------------------------------------
                            5.1    Owncz: .is now, and sball ooatin\IC to be, cng2ged in the: manu&etute, sale.
                                   distribution, and exploitation of mus.ial compositions tbxoughout the


                                                                                                                        v
                                   Tetritory dw:iog the Teiill.
                            5.2    Owner shtilluse its r~on:tble cffo~ to promote the m2nufiu:ture, tilL;
                                   distribution ~d other uploization of the Composition(!:) throughout the
                                   Tcttirory dw:ing the 'l'e!m, aod
                            5.3    I.ice~~sce shall be responsible foran
                                                                       snatkeling costs and apm:ses., as well as
                                   any md .all costs in connection with the 1Dallll&c1U1:1:. distribunon and sale
                                   of the Compos:ition(s) be.ccundex;

                      6.    INDEMNIFlCAllQN

                            6.1    Composer will inda:nD.ify md hold Ovmct ancl all entities :l$Sociated with
                                   Owner, ~safe, lind hattnless from lind ag;Unst llllf and-all losses,
                                   da.tni~ ections, cause$ of ~ction. expeo$es or liabililic$, including, '11.-ithout
                                   limitation, reasonable :tttoroey's fees ADd costs, 'lllhether .in~ befol:1! or
                                   :1fter the: cnuy of judgment, resulting from or by .re3sons of aoy material
                                   b~c:h of aoy s:epresentuion os: w~ty made herein by Composer.
                                   Ow.ller will illdemnify :!Xld bold Composer free. safe and lwmlc.:~s from and
                                   ~t my and !!lll0$scs, ~.actions, cmsc:s of .e~-on. expenses or
                                   liabilities, including. without limitation, Jeasonable attomey's fees and costs,
                                   whethe( incua:ed hefote or ;Utes- lhc: eotxy of judgment. resulting from or by
                                   re:~son of anylnllteci.:il b[(!oac:h of :my r~resenzatioc. or wa.o::anty m:tde
                                   he.rcia. by Owner, or a.cy thUd pany c:Wms resulting .&om OW!Ie.r'~J aerdsc
                                   orit's tights beceunder, including without limitntion, the right to alta,
                                   clulngc; adapt and tl::loslate the Compoiition(s), punuant to the tc:c:ns of
                                   this .Agxeement.

                      7.    ASSTGW.!ENJS

                            7.1     Owt:let 11.nd it's associ2tes vrill have the right to ,usign this Agreement, in
                                   'Whole ox: in part, to :my third )r.ltty or to gr.ant :111y licenses for the
                                    Compo~itio.c(s) hacuoder. Compos a: will hlm:: the right to assign this
                                    A~en~ ;n whole or in psu:t. or to ~sign Composci's light to .teecive hls
                                    sh:tte ofincome in connection with the Composition(s). This Agreement
                                   will inure to tbe benefit ot and be binding upon, each party's hei.ts,
                                    subsidiaries, 2flili:ates, c:orpocnions,llc<:llSUS, rucc:essors ~od assigns.



                            8.1    The bendings to the p:atagntphs of chis Agr:eement b:tve been.in~etted for
                                                                                                     or
                                   convenience of refereo.::e ollly ~d sh~ aot be deemed a pru:t or to Bffec:c
                                   die consu:uctioo or interpretation of any pro\'Won of this .Agreement.

                      9.    SERVMUJD;'

                            9. t   If:my p;ut of !:his ~ent shall be deteur.Uned to be void. invAlid, or
                                   unC11forc:t:l\ble by a court of competent ju:risdiction or by any othtr I~
                                   coastitutt:d body having the jurisdiction. to mab! sucll dt!:l!mlinatioD, it shall
                                   not :affect the validity of the :raJWnicg te.am aod conditiOllS of this
                                   ~t, provided that the put of rhe Agrc~t thus voided,
                                   invAlidated or decl:lred unenfore~ble is not <$$entiat to the padies intended
                                   p~e of this Agreement

                      10.   LE.GAJ. ACDON

                            10.1   Any legal. action btought, or any enf'otcement of Owner's right$ u.odet12ker~
                                   by Owner ot it"~> associates ag:Unst aay all~ infringer of the
Case 2:17-cv-06108-MWF-JPR     Document
        Case 2:17-cv-06108 Document       38-108/17/17
                                    1-1 Filed    Filed 11/21/17
                                                        Page 9 of Page 10 of
                                                                  10 Page ID11
                                                                             #:22Page ID
                                        #:181



                                   Coroposirioo{s), will be .initiatd uld prosecuted at ~Owner's sol.e
                                   cpccae   w    discretioa. ~dmg tbe right tD s~ aoy £UCh ~
                                   Howev<%, in the event oC my recovery cu- ser:tlemeAt teeeived by ~ or
                                   it's usociates from such actioa, Olwet sh:aU pay Composer his pro-nte
                                   sh-= of the income r~ Ia& Owoct'a ~001bk c:oJk.ctioo fees ~
                                   OO$t$ .io connection tbere111ilb. If requested br Ownct, Compos4:t will
                                   coopecue in the pc-oseeul:iOQ of m y wch 11ctioa. v.itb OwJ:w:r en it's
                                   ~tes, and if Coulpo5cr incun 11ny ~lc costs or apenses iD lhU
                                   tegud. Owna sbllt :cimburse Composer for aach fees and cosa out of my
                                   .n:covuy or settlc:ment n:ceivcd by Owner fmm such action.
                            10.2   If a claim is p~:esenred o.pt Owner or ic'~: associatz:s in which it is <l$A~
                                   that he Compoairioo(s) infringe upon or l'iolate os: interfere with the rights
                                   of my petSOn. fum, or =!itT. Owner stull1101ify Composer of auch claim
                                   io wr:itttlg. 211d CcmpoJc:r may p=icipate in the dt:f'cnsc of auc:h c:birn;
                                   howcvc.r., Owner md it's assod;,te: 6h:all ba\1~ the tight to CQ11tz:g), the
                                   d~D$C and to settle or oth~nrise dispo.c of such claim or llCtiao in any
                                   rQsomble bu~ manner..

                      11.   REJ>RF..qp.NTATIQN BY COUNSEL

                            tl.t   The panics hereto adwo~edge that they have bad the oppommiq· w be
               '' ·                Icprcsc:tltcd by l~ counsel of theic own choice throughout all uegoli2tions
                                   which preceded tlte eYecuUon of this Agtecment. lllld lhat they iulve
                                   c:a:c:cuted this .Agte~t -...ic:h the abilily to and aftct consulting with legal
                                   counsel of their own cboioe.

                      12    m      MAJEURE

                            121    Ncith.a: Owner AAd it'~ llSSOciates nor Composer shall be in .mateci:d breach
                                   of this Agt~t if d1e pttfotm:tnc:e of !lilY obligation bere.mdet is delayed
                                   md/or becomes impossible by reasoa o( any att of God, wu, ~wke,
                                   stxike, sickness. aocidecc; civil commotion, ep.idcm.ic. act of ~eat,
                                   and its ageocics oc offi«n. oz m y otbet cause beyond the teasooab!e
                                   control of the pl~Eties hereto. In the enot that such foru maj~ cveot
                                   continuc:s for more tho.n sU: (6} months, e.ir:hetp~ .may terminate the
                                   Tem~ of this Agreement a~r written notice to the other puty here~


                      13.   MISCG!lME.OUS

                            13.1   If Owner fails to sccount fut smd make plljments to Composer be:eundc:r
                                   Md sucb failurt: ~not cured 'Within (30.) cbyaafter written notice thcteof to
                                   OWDa, or if Own~-r 6ills to perform lillY othc:r obligations r~:quircd of it
                                   he.r=der 4nd &ucb failure ~ oot =d 'Witbio thirty (3CJ) doys dtenvri=
                                   notice tb.&«lf to Owner, or in lhe cveot that Owner sbnll Jile for protecioa
                                   Ulldtt any bankruptcy laws oc make an t$$igo.meot. for the bc:n.c:fit of
                                   a editors. or my insolveo.cy proccedicg cb:Ul be commeaced tg.Unst or by
                                   Owner. tben and in any one ot :Ul of mcb eYent£, this Agrcc:UJent m;ty,
                                   upoo C{)tnposer's dcsiprion in writing. be terminated twd Owner sb:ill
                                   h~   no further rights of any kind wbaooevcr in a.ud to the Compo$ition
                                   bc:rwndet. In :any such erent, Owner: shall cootiooe to accouot to
                                   Composer for roy:Uria a ad/or other sums eamed in te.Spect of che
                                   C~tion(s) pcior to the date of sutb temliaatio11.
                            13.2   If Compooer fdls to pes:i01m any of Compoaet'' obligations bereundet sand
                                   such failure is oot cuwl wimin dUny (30) day3 afttt wdtten notice th~f
                                   to Composu. or in chc n-ent dtat Composer shall file for protection undu
                                   any bankruptq" laws or tnalo: ao ~ot fat lhe benefit of ereditots. or
                                   my msol?cAq procxc:ding slWI ~ C()tnmeoced aga.iost or by Comp<mr.
Case 2:17-cv-06108-MWF-JPR    Document
      case 2:17-cv-06108 Document         38-1
                                  1-1 Fi led     Filed 11/21/17
                                             08/17/17             Page
                                                       Page 10 of 10   11 of
                                                                     Page lD 11
                                                                             #:23 Page ID
                                       #:182




                              then and io a.ny one ot :ill such events, this Agce<:n:lcnt Dny, UJ>Oil 0'1l1lct's
                              dc:sigc2lioo it1 wpting, be tamiDat~
                      13.3    All notices hereunder given by the putia hen:m shall be i:l writing =d
                              sbllll he gWCil by tde~ uc:simile, ~ rmil or personal dcfu-e.ty to ao
                              officer or executive of the other or by :uldres"in.g them as indicated below
                              and by at the &arne time (u confit::malion of the 2.fo.rei:lid mcdlods of
                              nocice) or 3ltem~tively by depositing thl!m, aitmsill, po$1!1~ prepaid,
                              re,&isteted mail. in me apptopmte government m;ill system,. or by dcfu!eting
                              them, toll prcp:Ud, to :1 tciegt:lph or oble company and is so tdc.'tcd, ~
                              tdegmphed, oJ: Qlblcd. shill he conclusively deemed to lute been .gi7cn
                              seventy· two (12) hours lifter the date of mnili»g or twcAty-four {U) hours
                              :lfter me chre of tclcx, f.u:similc craosmissioo, clecr.ronic mail or d~ery to
                              the teltflr3pb or cable rompany.
                      !3.4-   lhis AgTctment sets fordl the entire uodeaanding between Composer ~tnd
                              <ftvncr :utd cannot be clumged, modified or anccled except by an
                              insuumeut signed by the pnrty sought to be: chS~J:gcd. This Agtcement $1Wl
                              be got'ctned by and con$ trued under the laws of the St:lre of Qllifomia.
                              :~pplicable to agrumcn ts made llnd to be \\•holly pe.rf.o~ with the Stl\tc
                              of Cilifomi!l. .:\ll action-s. proceedings o~ litigation brought by dthcr rwtr
                              hereto sMll be instituted Md prouo.ted i1l !he County ofLos .~gclcs,
                              St:!tc: of Oilifomia. Col:llpolcr md Owner badly :mcmt to the jurisdiction
                              of me fedcrnl and St:l.lc courts h:t~g jurisdiction iD. the County of Los
                              Angeles, State of Califor.N:l, with respect to any matter uitiag out of or
                              telarc!d to this 1\grc:eroeut.

                      IN WlTNESS WHEREOF, the p:l.rtia hereto have camed this Agtcemcnt to be

                              =u«d~y=M:~yM/iii}(A_

                                                                   :M.id1a.el Cohc1t       \
                                                                   ("Compose: I''}

                                                          ubtador f.nt~~; ~der Cuc:s

                                                          By      !//uP
                                                                   Noel W(.Ub
                                                                   It's Aulhorizcd Agent
                                                                   ("Owner.;
